               Case 6:24-bk-03076-LVV        Doc 5     Filed 06/20/24     Page 1 of 6



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov


 In re:                                              CASE NO.: 6:24-bk-03076-LVV
                                                     CHAPTER 11
 PAYKICKSTART, LLC

      Debtor.
 ________________________________/


 In re:                                              CASE NO.: 6:24-bk-03075-LVV
                                                     CHAPTER 11
 ABIDE BRANDS, INC.

      Debtor.
 _______________________________/


                 JOINT CHAPTER 11 CASE MANAGEMENT SUMMARY

          ABIDE BRANDS, INC. (“ABIDE”) and PAYKICKSTART, LLC (“PayKickstart”), the

above-captioned affiliated debtors and debtors-in-possession, (collectively referred to herein as the

“Debtors” – where appropriate), by and through their undersigned counsel, and pursuant to

Administrative Order FLMB 2009-1 and Local Rule 2081-1, hereby file their Joint Chapter 11 Case

Management Summary, and state as follows:

          1.    On June 19, 2024 (the “Petition Date”), Debtors filed their respective petitions for

relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). The

Debtors continue to operate their respective businesses and manage their assets as debtors-in-

possession in accordance with their duties and responsibilities under the Bankruptcy Code.

Additional information regarding the Debtors’ business can be found at www.paykickstart.com.

I. Description of Each Debtor’s Business

                                   A. ABIDE BRANDS, INC.


                                                 1
             Case 6:24-bk-03076-LVV          Doc 5     Filed 06/20/24      Page 2 of 6



       2.        Abide is a Delaware company formed on May 10, 2022, which maintains its principal

business address and place of business is located at: 508 Lake Cove Pointe Circle, Winter Garden,

Florida 34787.

       3.        Abide is managed and controlled by its sole-shareholder, Mr. Jared Schneider, and

operates as an acquisition, management and holding company for software assets. Abide currently

holds and manages its interests in PayKickstart, LLC.

                                       B. PayKickstart, LLC

       4.        PayKickstart is Indiana company organized on April 13, 2015. which maintains its

principal business address and place of business is located at: 508 Lake Cove Pointe Circle, Winter

Garden, Florida 34787.

       5.        PayKickstart is wholly owned and operated by Mr. Jared Schneider who currently

manages all material aspects of its operation as sole-managing member. PayKickstart is a software

development company which provides e-commerce payment solutions for a wide variety of clientele.

Since inception, PayKickstart has developed payment software options for over 3,500 clients and has

facilitated over $1.6B in payment transactions.

II. Reasons for Bankruptcy Filings

       6.        During the First Quarter of 2024, the Debtors engaged in discussions to sell their

assets to an interested party with the hope of generating sufficient funds to satisfy their respective

secured and unsecured loan obligations. Sale negotiations were complicated in May and June 2024

when Debtors began to receive creditor and investor demands regarding missed note payments. On

June 11, 2024, PayKickstart received a demand letter from Boopos Warehouse, LLC alleging a

default on a $1.8 million promissory note. The Boopos demand complicated sale discussions and

with a potential lawsuit looming which would complicate matters further, Debtors elected to utilize

the Chapter 11 process to consolidate their respective operations, finalize an asset sale, and satisfy



                                                  2
              Case 6:24-bk-03076-LVV          Doc 5     Filed 06/20/24     Page 3 of 6



creditor obligations for the benefit of their respective estates. Debtors anticipate submitting a

Chapter 11 plan within the first 30 days of this case to facilitate the sale process.

III.     Debtors’ Gross Revenue

         $1,129,416.00 – 2021

         $1,244,755.00 – 2022

         $1,229,840 – 2023

         PayKickstart upstreams revenues to Abide on account of its interest to cover administrative

and debt repayment obligations.

IV.      Ownership Interests in the Debtors

            6. Abide is owned and managed by Mr. Schneider who owns 100% of all shares in

Abide.

            7. PayKickstart is owned 100% by Mr. Schneider who serves as its managing-member.

V.     Amounts Owed to Various Classes of Creditors

            8. As of the Petition Date, Abide and PayKickstart were indebted to the following

creditors in the following approximate amounts:

Abide ------------ Debt Structure

Secured Claims:

Boopos Warehouse - $1,800,000.00

Unsecured Claims:
      American Express - $12,636.30
      CapitalX - $100,000.00
      Chase - $4,144.80
      Cole Schrimsher - $50,000.00
      Darrell Carpenter - $100,000.00
      Diane Schneider - $100,000.00
      Inet Innovation, Inc. – 1,500,000.00
      Jared Schneider - $60.00
      Jeremey Ryckman - $50,000.00
      Jeremy Sainlar - $500,000.00



                                                  3
             Case 6:24-bk-03076-LVV         Doc 5    Filed 06/20/24     Page 4 of 6



       Jeremy Sainlar - $100,000.00
       Mana Syndicate - $96,260.00
       Mana Ventures - $15,000.00
       Mana Ventures - $15,000.00
       Mana Ventures - $476,675.00
       Search Creatively, LLC - $150,000.00
       Stephen & Carly - $100,000.00

       Total Claims:          $3,369,776.11

PayKickstart ------------ Debt Structure

Secured Claims:

       Boopos Warehouse - $1,800,000.00

VI.     General Description and Approximate Value of Debtors’ Current and Fixed Assets

           9. The Debtors’ main assets include cash on hand ($66,119.62 – PayKickstart and

$105.69 – Abide). Abide and PayKickstart own software assets with an approximate value of

$6,750,000.00, but have not been formally appraised.

VII.   Number of Employees and Amounts of Wages Owed as of Petition Date

           10. As of the Petition Date, PayKickstart employs ten (10) employees which include nine

(9) 1099 independent contractors and Mr. Schneider. The employees are scheduled to be paid on

June 24, 2024 for the period covering June 8 through June 21. The approximate gross payroll for the

prepetition pay period is: $13,338.46.

VIII. Anticipated emergency relief to be requested within 14 days from the Petition Date

           11. Debtors anticipate the following emergency motions:

               1) Motion for Authorization to Use Cash Collateral

               2) Motion for Authorization to Pay Pre-Petition Wages

               3) Motion for Authorization to Pay Officer Affiliate Salaries

               4) Motion for Joint Administration of Bankruptcy Cases




                                                4
    Case 6:24-bk-03076-LVV   Doc 5   Filed 06/20/24   Page 5 of 6



RESPECTFULLY SUBMITTED this 20th day of June, 2024.

                                /s/ Daniel A. Velasquez
                                Daniel A. Velasquez, Esq.
                                Florida Bar No. 0098158
                                dvelasquez@lathamluna.com
                                LATHAM, LUNA, EDEN & BEAUDINE, LLP
                                bknotice@lathamluna.com
                                201 S. Orange Avenue, Suite 1400
                                Orlando, Florida 32801
                                Telephone: 407-481-5800
                                Facsimile: 407-481-5801
                                Attorney for the Debtors




                                5
             Case 6:24-bk-03076-LVV          Doc 5     Filed 06/20/24      Page 6 of 6



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov


 In re:                                               CASE NO.: 6:24-bk-03076-LVV
                                                      CHAPTER 11
 PAYKICKSTART, LLC

      Debtor.
 ________________________________/


 In re:                                               CASE NO.: 6:24-bk-03075-LVV
                                                      CHAPTER 11
 ABIDE BRANDS, INC.

      Debtor.
 _______________________________/



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the JOINT CHAPTER 11 CASE
MANAGEMENT SUMMARY, has been furnished either electronically and/or by U.S. First Class,
postage prepaid overnight mail to: Abide Brands, Inc., 508 Lake Cove Pointe Circle, Winter
Garden, FL 34787; PayKickstart, LLC, 508 Lake Cove Pointe Circle, Winter Garden, FL 34787;
all parties entitled to receive electronic noticing via CM/ECF; the twenty largest unsecured creditors
as shown on the matrix attached to the original of this pleading filed with the Court; and the U.S.
Trustee, 400 W. Washington Street, Suite 1100, Orlando, Florida 32801, this 20th day of June,
2024.


                                                  /s/ Daniel A. Velasquez
                                                  Daniel A. Velasquez, Esq.




                                                  6
